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2                                UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
3

4    UNITED STATES OF AMERICA,                     Case No. 2:21-cr-00266-APG-VCF
                                                                           *SEALED* -00059--
5                   Plaintiff,                     -

6           v.                                     Order Unsealing Case

7    MARIO VILLEGAS-MEZA,

8                          Defendant.

9

10          Upon consideration and review of the Government’s motion:

11          IT IS HEREBY ORDERED that the above-captioned matter, United States of America

12   v. Mario Villegas-Meza, is unsealed.

13                      1st
            DATED this ______ day of October, 2021.

14                                                   By the Court:

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16                                                   Honorable Andrew P. Gordon
                                                     United States District Judge
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